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                      UNITED STATE DISTRICT COURT
                           DISTRICT OF IDAHO

PLANNED PARENTHOOD GREAT NORTH-
WEST, HAWAII, ALASKA, INDIANA, KEN-             Case No. 1:23-cv-00142-BLW
TUCKY, on behalf of itself, its staff, physi-
cians and patients, CAITLIN GUSTAFSON,          DECLARATION OF JANNA
M.D., on behalf of herself and her patients,    BIRCH
and DARIN L. WEYHRICH, M.D., on behalf
of himself and his patients,
                Plaintiffs,

v.
RAÚL LABRADOR, in his capacity as the At-
torney General of the State of Idaho; MEM-
BERS OF THE IDAHO STATE BOARD OF
MEDICINE and IDAHO STATE BOARD OF
NURSING, in their official capacities,
COUNTY PROSECUTING ATTORNEYS, in
their official capacities,
                Defendants.
         Case 1:23-cv-00142-BLW Document 117-4 Filed 05/04/23 Page 2 of 3




         I, JANNA BIRCH, hereby declare and state as follows:

         1.    I am the prosecuting attorney for Clark County, Idaho, and am named

as a Defendant in this action.

         2.    The Idaho Attorney General’s Office never sent me a copy of the Attor-

ney General’s March 27, 2023 letter to Representative Brent Crane (the “Crane Let-

ter”).

         3.    I received that letter only in connection with this litigation.

         4.    I did not, and do not, regard the Crane Letter as any type of guidance or

directive to me or to my office from the Office of the Attorney General.

         5.    My office has taken no position regarding the scope of enforcement un-

der Idaho Code § 18-622.

         6.    My prosecutorial decisions are based on my own independent legal duty,

interpretation of the law, and discretion.

         7.    This is true no less with respect to any prosecution under Idaho Code

§ 18-622.

         8.    The Attorney General has no supervisory authority over my work as a

prosecutor or the power to direct me to initiate any prosecution without my consent.

         9.    I am aware of no prosecution, or threat of prosecution, brought by any-

one in my office against Plaintiffs under Idaho Code § 18-622.

         10.   In fact, none of the Plaintiffs in this action have facilities in my county.

         I declare under penalty of perjury that the foregoing is true and correct.

         Dated: May 4, 2023
                                               _/s/ Janna Birch_____________
                                               Janna Birch


DECLARATION OF JANNA BIRCH – 2
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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 4, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to the following persons:

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                                         /s/ Lincoln Davis Wilson
                                       LINCOLN DAVIS WILSON
                                       Deputy Attorney General




   DECLARATION OF JANNA BIRCH – 3
